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                IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

WESTERN HEALTHCARE, LLC,            §
                                    §
           Plaintiff,               §
                                    §
vs.                                 §      NO. 3:16-CV-00565-L
                                    §
NATIONAL FIRE AND MARINE            §
INSURANCE COMPANY, ET AL.,          §
                                    §
           Defendants.              §


      DEFENDANT RAJ MEHTA’S MOTION TO DISMISS FOR LACK OF
           PERSONAL JURISDICTION OR, ALTERNATIVELY,
                 FOR FAILURE TO STATE A CLAIM


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TO THE HONORABLE JUDGE LINDSAY:

       Defendant Raj Mehta files this motion to dismiss for lack of personal jurisdiction

pursuant to Federal Rule of Civil Procedure 12(b)(2). Alternatively, and without waiving

his challenge to personal jurisdiction, Defendant Mehta moves to dismiss for failure to

state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). In support of this

motion, Defendant respectfully shows the Court as follows:

                    OVERVIEW OF GROUNDS FOR DISMISSAL

       No personal jurisdiction: Defendant Mehta is a resident of Connecticut. Because

he lacks sufficient minimum contacts with the State of Texas, the Texas long-arm statute

does not permit this Court to exercise of personal jurisdiction over him. Defendant Mehta

has not had continuous and systematic minimum contacts with Texas, as would be required

for the exercise of general jurisdiction. And Plaintiff’s claims do not arise from and are

not sufficiently related to any purposeful activities conducted by Defendant Mehta in

Texas, as is required for the exercise of specific jurisdiction. Absent sufficient minimum

contacts with Texas, the exercise of personal jurisdiction over Defendant Mehta would

offend traditional notions of fair play and substantial justice. Accordingly, Defendant

Mehta requests that this Court dismiss Plaintiff’s claims against him for lack of personal

jurisdiction. See FED. R. CIV. P. 12(b)(2).

       Failure to state a claim:     In the unlikely event that the Court concludes that

Defendant Mehta is subject to personal jurisdiction in Texas, the claims against him must

still be dismissed, because the factual allegations in the complaint are patently insufficient

to state a claim for relief against Defendant Mehta that is plausible on its face.

Accordingly, if the claims against him are not dismissed for lack of personal jurisdiction,

they should be dismissed under Rule 12(b)(6).


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       MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

A.     Applicable legal standard.

       “Federal Rule 12(b)(2) provides for the dismissal of a complaint when the court

lacks personal jurisdiction over a defendant in the case.” Tex. Opportunity Fund L.P. v.

Hammerman & Gainer Int’l, Inc., 107 F. Supp. 3d 620, 627 (N.D. Tex. 2015). “A federal

court may exercise personal jurisdiction over a nonresident defendant if (1) the forum

state’s long-arm statute confers personal jurisdiction over that defendant; and (2) the

exercise of personal jurisdiction comports with the Due Process Clause of the Fourteenth

Amendment.” McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009), quoted in Tex.

Opportunity Fund, 107 F. Supp. 3d at 627. Because the Texas long-arm statute reaches

“‘as far as the federal constitutional requirements for due process will allow,’ . . . the

statute’s requirements are satisfied if exercising jurisdiction comports with federal due

process limitations.” Am. Type Culture Collection, Inc. v. Coleman, 83 S.W.3d 801, 806

(Tex. 2002) (quoting Guardian Royal Exch. Assur., Ltd. v. English China Clays, P.L.C.,

815 S.W.2d 223, 226 (Tex. 1991)). “[T]he relevant inquiry is whether the exercise of

personal jurisdiction over a non-resident defendant offends due process.” Tex. Opportunity

Fund, 107 F. Supp. 3d at 627.

       “For half a century, the touchstone of jurisdictional due process has been

‘purposeful availment.’” Michiana Easy Livin’ Country, Inc. v. Holten, 168 S.W.3d 777,

784 (Tex. 2005). Consequently, “it is essential in each case that there be some act by

which the defendant purposefully avails itself of the privilege of conducting activities

within the forum State, thus invoking the benefits and protections of its laws.” Id. (quoting

Hanson v. Denckla, 357 U.S. 235, 253 (1958) (emphasis in original)). The exercise of

personal jurisdiction is consistent with federal due-process guarantees only if (i) the


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defendant has established minimum contacts with the forum state and (ii) the exercise of

jurisdiction comports with traditional notions of fair play and substantial justice. PHC-

Minden, L.P. v. Kimberly-Clark Corp., 235 S.W.3d 163, 166 (Tex. 2007). Minimum

contacts, if established, may give rise to either general or specific jurisdiction. Moki Mac

River Expeditions v. Drugg, 221 S.W.3d 569, 575 (Tex. 2007).

         The Texas Supreme Court has “consistently held that the plaintiff bears the initial

burden to plead sufficient allegations to bring the nonresident defendant within the reach of

Texas’s long-arm statute.” Kelly v. Gen. Interior Constr., Inc., 301 S.W.3d 653, 658 (Tex.

2010).    “[T]he defendant’s corresponding burden to negate jurisdiction is tied to the

allegations in the plaintiff’s pleading.” Id. Accordingly, the analysis begins with the

jurisdictional allegations in Plaintiff’s complaint.


B.       Plaintiff has not alleged sufficient facts to bring Defendant Mehta within the
         reach of the Texas long-arm statute.

         Plaintiff asserts that “[t]he court has personal jurisdiction over all Defendants

because, at a minimum, all Defendants have established minimum contacts with the State

of Texas.” (See ECF Doc. 1, Ex. A-2 [Orig. Pet.], ¶ 9.) But conclusory assertions are

insufficient to satisfy Plaintiff’s initial burden to allege sufficient facts to bring Defendant

Mehta within the provisions of the long-arm statute. See Kelly, 301 S.W.3d at 658.

         When, as here, “the plaintiff fails to plead facts bringing the defendant within reach

of the long-arm statute (i.e., for a tort claim, that the defendant committed tortious acts in

Texas), the defendant need only prove that it does not live in Texas to negate jurisdiction.”

Kelly, 301 S.W.3d at 658-59. Defendant Mehta, a resident of Connecticut, has met that

burden. (See Ex. 1, Declaration of Raj Mehta, which is attached hereto and incorporated




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by reference herein.) The jurisdictional analysis can and should end here. See Kelly, 301

S.W.3d at 658.


C.     The Court lacks general jurisdiction over Defendant Mehta.

       General jurisdiction exists when “the defendant has made continuous and

systematic contacts with the forum.”       Moki Mac, 221 S.W.3d at 575.          But general

jurisdiction turns on more than the sheer number of contacts amassed over time.             It

“requires a showing that the defendant conducted substantial activities within the forum . .

. .” CSR Ltd. v. Link, 925 S.W.2d 591, 595 (Tex. 1996) (emphasis added). To be subject

to general jurisdiction, a defendant must engage in “‘activities in the forum state similar in

frequency and nature to the activities of local businesses.’” PHC-Minden, 235 S.W.3d at

168 (quoting Charles W. “Rocky” Rhodes, Clarifying General Jurisdiction, 34 SETON

HALL L. REV. 807, 811 (2004)). In other words, general jurisdiction requires a defendant’s

operations within the state to be so continuous and substantial as to render the defendant

essentially “at home” in the state. Goodyear Dunlop Tires Ops., S.A. v. Brown, 131 S.Ct.

2846, 2853 & 2857 (2011).

       Given this demanding standard, it is not surprising that general jurisdiction is

exceedingly rare. The United States Supreme Court has upheld the exercise of general

jurisdiction in only one case – Perkins v. Benguet Consolidated Mining Co., 342 U.S. 437

(1952). Perkins thus provides a benchmark by which to measure the contacts required for

general jurisdiction:

       In assessing whether the nonresident defendant’s Ohio contacts were
       sufficient to warrant a finding of general jurisdiction, the Court noted that
       the company’s president . . . maintained an Ohio office in which he “did
       many things on behalf of the company.” He maintained company files in
       Ohio, carried on correspondence from there, drew and distributed salary
       checks from his Ohio office, used two Ohio bank accounts for company


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       funds and had an Ohio bank act as transfer agent for the company’s stock,
       held directors’ meetings in Ohio, supervised policies dealing with the
       rehabilitation of the corporation’s properties in the Philippines [in Ohio],
       and dispatched funds from Ohio bank accounts to cover purchases of
       machinery for such rehabilitation.

PHC-Minden, 235 S.W.3d at 168; see also Pervasive Software, Inc. v. Lexware GMBH &

Co. KG, 688 F.3d 214, 230-31 (5th Cir. 2012) (using Perkins as a benchmark to determine

whether a defendant is sufficiently “at home” in a forum state as required to support

general jurisdiction).   In short, the defendant “carried on in Ohio a continuous and

systematic supervision of the necessarily limited wartime activities of the company.”

Perkins, 342 U.S. at 448.

       After discussing Perkins, the Texas Supreme Court acknowledged that “‘general

jurisdiction ‘typically requires the defendant to have an office in the forum state.’” PHC-

Minden, 235 S.W.3d at 168 (quoting 16 MOORE’S FEDERAL PRACTICE § 108.41[3]); see

also Moki Mac River Expeditions v. Drugg, 270 S.W.3d 799, 803 (Tex. App.—Dallas

2008, no pet.) (characterizing the maintenance of a Texas as “the deciding factor in

Perkins”). Other “‘traditional indicia’ of general jurisdiction are ‘a home base, an agent

for the service of process, a local office, or the pursuance of business from a tangible

locale within the state.’” PHC-Minden, 235 S.W.3d at 168 (quoting Mary Twitchell, The

Myth of General Jurisdiction, 101 HARV. L. REV. 610, 635 (1988)). Those types of

contacts show that a defendant is “at home” in Texas, as required for general jurisdiction.

       Defendant Mehta has not had the types of continuous and systematic contacts with

Texas that would subject him to general jurisdiction:

          He does not own or lease and has never owned or leased any real property in
           Texas (Ex. 1, ¶ 3);

          He does not maintain and has never maintained an office in Texas (id., ¶ 4);



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             He does not have and has never had any employees or agents working in Texas
              (id., ¶ 5);

             He does not have and has never had a telephone listing in Texas (id., ¶ 6);

             He does not enter into and has never entered into contracts with Texas residents
              (id., ¶ 7);

             He does not and has never advertised in Texas (id., ¶ 8);

             He does not design, manufacture, ship, sell, or market any products in Texas,
              and has never designed, manufactured, shipped, sold or marketed any products
              in Texas (id., ¶¶ 9-13);

             He does not have and has never had any bank accounts in Texas (id., ¶ 14);

             He does not pay and has never paid any taxes in Texas (id., ¶ 15); and

             He does not have and has never had a registered agent for service of process in
              Texas (id., ¶ 16).

Because Defendant Mehta does not have the quantity or quality of contacts that would

make him “at home” in Texas, he is not subject to general jurisdiction in this State.

D.         The Court lacks specific jurisdiction over Defendant Mehta.

       Specific jurisdiction exists when: (i) the defendant has made minimum contacts by

purposefully availing itself of the privilege of conducting activities in the forum state, and

(ii) those contacts bear a “substantial connection” to the operative facts of the litigation.

Moki Mac, 221 S.W.3d at 584-85.

       1.        The “purposeful availment” requirement is not met.

       In determining whether a nonresident defendant has purposefully availed itself of

the privilege of doing business in the state, Texas courts consider the following three

factors:

       First, only the defendant’s contacts with the forum are relevant, not the
       unilateral activity of another party or person. Second, the contacts relied
       upon must be purposeful rather than random, fortuitous, or attenuated.
       Thus, sellers who reach our beyond one state and create continuing


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       relationships and obligations with citizens of another state are subject to
       the jurisdiction of the latter in suits based on their activities. Finally, the
       defendant must seek some benefit, advantage or profit by availing itself of
       the jurisdiction.

Retamco Operating, Inc. v. Republic Drilling Co., 278 S.W.3d 333, 338-39 (Tex. 2009),

quoted in Moncrief Oil Int’l v. Oao Gazprom, 414 S.W.3d 142, 151 (Tex. 2013). The

“purposeful availment” analysis focuses on the “quality and nature of the contacts, not the

quantity.” Moncrief, 414 S.W.3d at 151.

       Plaintiff’s complaint alleges that Western reported a claim to Defendant Mehta.

(ECF Doc. 1, Ex. A-2, ¶ 12.) That is incorrect. Western actually reported the claim to the

Program Administrator, Rockbridge Underwriting Agency Limited.                  (Ex. 1, ¶ 20.)

Regardless, because purposeful availment turns on the defendant’s contacts with the

forum, an out-of-state defendant does not purposefully avail itself of a forum by merely

answering a telephone call initiated by a forum resident. See Moncrief, 414 S.W.3d at 152.

The only other allegations about Defendant Mehta are that he selected counsel to defend

Western in the Illinois lawsuit (ECF Doc. 1, Ex. A-2, ¶ 13) and that he, acting on behalf of

NFM, refused to appoint new counsel to defend Western in a post-dismissal sanctions

proceeding in Illinois (id., ¶¶ 17, 19). The first allegation is incorrect (see Ex. 1, ¶ 21), but

even if it were true, neither it nor any of the other allegations in the complaint establish that

Defendant Mehta was purposefully availing himself of the privilege of doing business in

Texas. Nor has Defendant Mehta engaged in the type of conduct that would satisfy the

purposeful availment prong.        (See Ex. 1, ¶¶ 3-16.)       Absent purposeful availment,

Defendant Mehta cannot be subject to specific jurisdiction in Texas.               The specific

jurisdiction analysis can and should stop here.




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        2.      The “substantial connection” requirement is not met.

        Even if the Court were to conclude that Plaintiff’s factual allegations are sufficient

to satisfy the first prong (which they are not), “purposeful availment alone will not support

an exercise of specific jurisdiction . . . unless the defendant’s liability arises from or relates

to the forum contacts.”       Moki Mac, 221 S.W.3d at 579.             Because there must be a

“substantial connection between [the defendant’s forum] contacts and the operative facts of

the litigation,” id. at 585, a court “must consider the claims involved in the litigation to

determine the operative facts.” Retamco, 278 S.W.3d at 340.

        Plaintiff purports to assert three claims against “All Defendants.”1               But the

operative facts alleged in support of those claims involve representations made during the

course of defending a medical malpractice lawsuit in Illinois. There are no allegations to

connect Defendant Mehta with those operative facts, and Defendant Mehta never met with

anyone in Texas regarding the defense of that lawsuit or any other events that gave rise to

Plaintiff’s claims. (Ex. 1, ¶ 18.) Under these circumstances, there is no connection

between any purposeful contacts that Defendant Mehta had with Texas and any operative

facts that occurred in Texas. Accordingly, Defendant Mehta is not subject to specific

jurisdiction in Texas. See Moki Mac, 221 S.W.3d at 579.


E.      Exercising personal jurisdiction over Defendant Mehta would offend
        traditional notions of fair play and substantial justice.

        Absent minimum contacts, the Court need not consider whether the exercise of

personal jurisdiction would comport with traditional notions of fair play and substantial


1
  There are no claims specifically asserted against Defendant Mehta. Moreover, as demonstrated
below, the factual allegations relating to Defendant Mehta are insufficient to state a claim on which
relief could be granted.



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justice. See Internet Advertising Group, Inc. v. Accudata, Inc., 301 S.W.3d 383, 392-93

(Tex. App.—Dallas 2009, no pet.). When, as here, there are insufficient contacts with

Texas to support jurisdiction, exercising jurisdiction “does not comport with traditional

notions of fair play and substantial justice.” See Moki Mac, 270 S.W.3d at 804.

       In light of firmly established case law and Plaintiff’s wholly deficient allegations

against Defendant Mehta, the Texas long-arm statute does not permit this Court to exercise

personal jurisdiction over Defendant Mehta. The exercise of personal jurisdiction would

also violate the United States Constitution and offend traditional notions of fair play and

substantial justice. Accordingly, Plaintiff’s claims against Defendant Mehta should be

dismissed for lack of personal jurisdiction. See FED. R. CIV. P. 12(b)(2).

            MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

A.     Legal standard.

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. “[W]hile the complaint need not articulate

‘detailed factual allegations,’ it must provide ‘more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.’” Richardson v. Axion

Logistics, L.L.C., 780 F.3d 304, 306 (5th Cir. 2015) (quoting Twombly, 550 U.S. at 555).

As this Court has observed, “a court is not to strain to find inferences favorable to the

plaintiff and is not to accept conclusory allegations, unwarranted deductions, or legal

conclusions.” Sourcing Mgmt., Inc. v. Simclar, Inc., 118 F. Supp. 3d 899, 913 (N.D. Tex.


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2015). “[W]here the well-pleaded facts do not permit the court to infer more than the mere

possibility of misconduct, the complaint has alleged – but it has not ‘show[n]’ – ‘that the

pleader is entitled to relief.’” Iqbal, 556 U.S. at 679 (quoting FED. R. CIV. P. 12(b)(6)).


B.     Plaintiff has failed to state a claim against Defendant Mehta.

       1.      There are no factual allegations to support a claim against Defendant
               Mehta.

       Plaintiff’s complaint does not contain any claims that are specifically asserted

against Defendant Mehta. (ECF Doc. 1, Ex. A-2, ¶¶ 21-52.) In fact, the “Causes of

Action” section never mentions his name. (Id.) Instead, Plaintiff asserts two claims

against NFM and three claims against “All Defendants.” But Plaintiff simply recites the

elements of claims for negligence, violation of the Texas Insurance Code, and violation of

the Deceptive Trade Practices – Consumer Protection Act (“DTPA”).               (Id.)   That is

insufficient. Conclusory allegations against “All Defendants” do not provide fair notice

regarding the nature of Western’s alleged statutory claims against Defendant Mehta. See

Holmes v. Acceptance Cas. Ins. Co., 942 F. Supp. 2d 637, 647 (E.D. Tex. 2013); accord

Weldon Contractors, Ltd. v. Fireman’s Fund Ins. Co., No. 4:09-CV-165-A, 2009 WL

1437837, at *3 (N.D. Tex. May 22, 2009) (same); TAJ Props., LLC v. Zurich Am. Ins. Co.,

No. H-10-2512, 2010 WL 4923473, at *4 (S.D. Tex. Nov. 29, 2010) (“Allegations merely

asserted against ‘Defendants,’ without alleging what facts are attributed to the adjuster

individually as opposed to the insurance company, do not provide a reasonable basis for

recovering against the adjuster.”); Broadway v. Brewer, No. 4:08-CV-475, 2009 WL

1445449, at *3 (E.D. Tex. May 21, 2009) (“Plaintiff’s petition merely alleges that

‘Defendants’ made misrepresentations in violation of the DTPA and the Texas Insurance




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Code, but Plaintiff never identifies a single statement or specific misrepresentation made

by Brewer.”).

           The only factual allegations that relate to Defendant Mehta appear in the “Factual

Background” section of the complaint:

          “Western reported the [Illinois] claim to Defendant Raj Mehta.”2 (Id., ¶ 12.)

          “Defendant Mehta selected Western’s counsel on behalf of NFM.”3 (Id., ¶ 13.)

          “Mehta, acting on behalf of NFM, refused to appoint replacement defense counsel

           to defend Western” in the sanctions proceeding that was initiated after Western had

           been dismissed from the Illinois suit. (Id., ¶ 17.)

          “Defendants Mehta and NFM refused Western’s repeated requests” to appoint new

           counsel to defend Western in the sanctions proceeding. (Id., ¶ 19.)

As demonstrated below, these allegations are insufficient to permit this Court “to draw the

reasonable inference” that Defendant Mehta did anything wrong – much less that he could

be “liable for the misconduct alleged.” See Iqbal, 556 U.S. at 679.

           2.      Plaintiff has not stated an Insurance Code claim against Defendant
                   Mehta.

           Counts III and IV of the petition allege that “All Defendants” violated various

provision of the Texas Insurance Code. (ECF Doc. 1, Ex. A-2, ¶¶ 34-44.) But the

allegations to support those counts do nothing more than parrot the statutory language.

Thus “the well-pleaded facts do not permit the court to infer more than the mere possibility




2
    As explained, that allegation is incorrect. (Ex. 1, ¶ 20.)
3
    That allegation is also incorrect. (Ex. 1, ¶ 21.)



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of misconduct.” See Iqbal, 556 U.S. at 679. That is insufficient to show that Plaintiff is

“entitled to relief.” See id.

          There are no allegations that Defendant Mehta made any “specific, affirmative

misrepresentation[s]” of the sort that might be actionable under the Insurance Code (or the

DTPA). See Webb v. UnumProvident Corp., 507 F. Supp. 2d 668, 679, 682 (W.D. Tex.

2005). Indeed, the only allegation that could possibly relate to Defendant Mehta is a

conclusory assertion that “All Defendants” engaged in unfair settlement practices by

“refusing to defend Plaintiff’s [sic] after a claim was properly tendered.” (ECF Doc. 1, Ex.

A-2, ¶ 36(d)(iv).) However, facts alleged in the Factual Background section show that

Plaintiff’s “refusal to defend” claim – a claim expressly asserted against NFM in Counts I

and II – only involves Mehta because he took actions “on behalf of NFM.” (Id., ¶¶ 17, 19.)

There are no facts to support Plaintiff’s conclusory assertion that “All Defendants,”

including Mehta, “are individually liable” for violating the Insurance Code. (Id., ¶ 37

(emphasis added).)

          As the Fifth Circuit has recognized, “there is no reasonable possibility that Texas

would allow recovery under Article 21.214 [of the Insurance Code] or the Texas Deceptive

Trade Practices Act (DTPA) against an insurance company employee, who in the course of

his employment engages in [the] business of insurance, in the absence of evidence

sufficient to sustain a finding that that employee himself committed a violation of Article

21.21 (or the DTPA) (and that such violation was a cause of damages or legally recognized

harm to plaintiff).” Hornbuckle v. State Farm Lloyds, 385 F.3d 538, 545 (5th Cir. 2004).

As explained by a federal district judge from the Southern District of Texas:


4
    Article 21.21 is the predecessor to Chapter 541 of the Texas Insurance Code.



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       The purpose of the unfair practices provisions of the Insurance Code is to
       “regulate trade practices in the business of insurance.” Its focus and its
       reach go to the business entities that provide insurance, not the employees
       of those providers. To hold otherwise would be to conclude that Texas
       intended to put every individual employee of an insurance provider at risk
       of liability for the trade practices of the employer. Nothing in the statute
       regulating the businesses in the insurance field suggests that private claims
       against individual employees are part of the Texas scheme.

Ayoub v. Baggett, 820 F. Supp. 298, 299 (S.D. Tex. 1993).

       Because the sparse factual allegations confirm that Western’s purported claims

against Defendant Mehta are based on actions taken in the course and scope of Mehta’s

employment with NFM, Defendant Mehta cannot be individually liable for violations of

the Insurance Code. See Hornbuckle, 385 F.3d at 545. Accordingly, Plaintiff has not

stated a plausible claim for relief against Defendant Mehta under the Insurance Code.

Those claims should be dismissed. See FED. R. CIV. P. 12(b)(6).

       3.     Defendant has not stated a DTPA claim against Defendant Mehta.

       For closely related reasons, Plaintiff has not stated a claim against Defendant

Mehta under the DTPA. As with the Insurance Code claims, Plaintiff frames its DTPA

claim as a series of sweeping legal conclusions copied nearly verbatim from the statute

itself. (ECF Doc. 1, Ex. A-2, ¶¶ 45-48.) There are no allegations specific to Defendant

Mehta, and none of the allegations have any apparent connection to Defendant Mehta’s

actions on behalf of NFM. But even if the Court could somehow “infer more than the

mere possibility of misconduct,” the DTPA claim would not be actionable against

Defendant Mehta individually. See Hornbuckle, 385 F.3d at 545. Accordingly, Plaintiff’s

DTPA claim against Defendant Mehta should also be dismissed. See FED. R. CIV. P.

12(b)(6).




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       4.      Defendant has not stated a negligence claim against Defendant Mehta.

       The negligence claim suffers from many of the same defects. It is a string of legal

conclusions relating to “All Defendants” that is devoid of particular facts to show that

Plaintiff has stated a plausible claim against Defendant Mehta individually. (ECF Doc. 1,

Ex. A-2, ¶¶ 49-52.) Indeed, the complaint actually suggests the opposite by alleging that

“Defendants” are liable for “failing to exercise care, either directly or indirectly, through

the acts and omissions of those acting within the course and scope of their

agency/employment.” (Id., ¶ 51 (emphasis added).) Plaintiff’s formulaic recitation of the

elements of a negligence claim is plainly insufficient to state a claim against Defendant

Mehta. See Twombly, 550 U.S. at 555. The negligence claim against Defendant Mehta

should also be dismissed. See FED. R. CIV. P. 12(b)(6).

                                         PRAYER

       WHEREFORE, Defendant Mehta prays that the Court dismiss all of Plaintiff’s

claims against him for lack of personal jurisdiction. Alternatively, Defendant Mehta prays

that the Court dismiss all of Plaintiff’s claims against him because Plaintiff has failed to

state a claim upon which relief can be granted. Defendant Mehta also prays for any

additional relief to which he may be entitled.




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Dated: April 20, 2016.                       Respectfully submitted,



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                                             ATTORNEYS FOR DEFENDANT RAJ
                                             MEHTA




                             CERTIFICATE OF SERVICE


        I certify that on April 20, 2016, I filed this document using the Court’s Electronic
Case Filing (“ECF”) system, which will automatically deliver a notice of electronic filing
to all parties’ counsel of record, who are registered ECF users. Delivery of such notice of
electronic filing constitutes service of this document as contemplated by Rule 5 of the
Federal Rules of Civil Procedure. See LR 5.1.

                                            /s/




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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

WESTERN HEALTHCARE, LLC,                         §
                                                 §
                  Plaintiff,                     §
                                                 §
vs.                                              §      NO. 3:16-CV-00565-L
                                                 §
NATIONAL FIRE AND MARINE                         §
INSURANCE COMPANY, ET AL.,                       §
                                                 §
                  Defendants.                    §


                               DECLARATION OF RAJ MEHTA


        I, Raj Mehta, offer this Declaration in support of my Rule 12(b)(2) motion to dismiss for

lack of personal jurisdiction filed in this case. This Declaration is not intended and should not be

construed as a general appearance in this action.

        1.        I am a resident of Connecticut and have been a resident of Connecticut since

2002.

        2.        I am one of the individual defendants referenced in the petition filed in the above-

captioned case.

        3.        I do not own or lease and I have never owned or leased any real property in the

State of Texas.

        4.        I do not maintain and I have never maintained an office in the State of Texas.

        5.        I do not have and I have never had any employees or agents working in the State

of Texas.

        6.        I do not have and I have never had a telephone listing in the State of Texas.
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         7.    I do not enter into and I have never entered into contracts with anyone in the State

of Texas.

         8.    I do not advertise and I have never advertised in Texas.

         9.    I do not design and I have never designed any products for sale in Texas.

         10.   I do not manufacture and I have never manufactured any products in Texas.

         11.   I do not ship and I have never shipped any products for sale in Texas.

         12.   I do not sell and I have never sold any products in Texas.

         13.   I do not market and I have never marketed any products for sale in Texas.

         14.   I do not have and I have never had any bank accounts in Texas.

         15.   I do not pay and I have never paid any taxes in Texas.

         16.   I do not have and I have never had a registered agent for service of process in

Texas.

         17.   The above-captioned case arises from events that occurred in connection with the

defense of a medical malpractice lawsuit that was filed in Illinois.

         18.   I have never met with anyone in Texas regarding the defense of the Illinois

lawsuit or regarding any other events that gave rise to the petition filed in this case.

         19.   I do not consent to personal jurisdiction in the State of Texas.

         20.   Western did not report the Illinois claim to me as stated in paragraph 12 of

Plaintiff’s Original Petition; Western reported the claim to the Program Administrator,

Rockbridge Underwriting Agency Limited.

         21.   I did not select Western’s counsel on behalf as NFM, as stated in paragraph 12 of

Plaintiff’s Original Petition; Western’s counsel was selected by MedPro.
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